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                                          Office of the United States Trustee

                        In re: ICPW Liquidation                  Post-Confirmation Quarterly
                        Corporation, a California                     Operating Report
                        corporation, et al.

                        Chapter 11 Case No: Lead Case            Quarter Ending:     6/30/2020
                        No.: 1:17-bk-12408-MB
                        Jointly administered with:
                        1:17-bk-12409-MB



 Attorney/Professional - Name, Address,                       Person responsible for report - Name, Address,
 Phone & FAX:                                                 Phone & FAX:
 Samuel R. Maizel & Tania M. Moyron                           Matthew Pliskin
 DENTONS US LLP                                               3902 Henderson Blvd., Suite 208-336
 601 South Figueroa Street, Suite 2500                        Tampa, FL 33629
 Los Angeles, California 90017-5704                           Telephone: (917) 543-2568
 Telephone: (213) 623-9300
 Facsimile: (213) 623-9924
 Date Order was entered confirming   February 13, 2018
 plan
 Los Angeles, California 90017-5704
 Telephone:    (213)
 Disbursing Agent (if 623-9300
                      any) (Please   KCC LLC
 Facsimile:
 print)        (213)  623-9924
 Los Angeles, California 90017-5704
 Telephone:    (213) 623-9300
 Facsimile:
 SUMMARY OF    (213)  623-9924
                  DISBURSEMENTS     MADE DURING THE QUARTER
 Disbursements made under the plan              $252,075.83
 Other Disbursements                            $91,625.31
                        Total Disbursements $343,711.14



 Projected date of final decree                 TBD based on resolution of litigation.
 What needs to be achieved before a             Resolution of litigation against BDO.
 final decree will be sought? (Attach a
 separate sheet if necessary)




Revised
)       December 2001           POST-CONFIRMATION STATUS REPORT (Page 1 of 2)                              USTLA-7
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 Narrative of events which impact upon       None. Since the last reporting period, the arbitration with
 the ability to perform under the            BDO has been delayed due to COVID-19.
 reorganization plan or other significant
 events that have occurred during the
 reporting period (Attach a separate
 sheet if necessary)

 Date last U. S. Trustee fee paid            July 17, 2020
 Amount Paid                                 $5,200.00

I declare under penalty of perjury that the information contained in the document is true, complete and correct.



 Date: 7/20/2020                                             Signature of person responsible for this report


This report is to be filed with the U.S. Trustee quarterly until a final decree is entered. This report is for U.S.
Trustee purposes only. You may be required to file additional reports with the Bankruptcy Court.




Revised
)       December 2001        POST-CONFIRMATION STATUS REPORT (Page 2 of 2)                                     USTLA-7
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QUARTERLY STATUS REPORT -                                                                                                                              ATTACHMENT NO. 1
POST CONFIRMATION




                                                             QUESTIONNAIRE
                                                                                                                                     YES*       NO
1.     Have any assets been sold or transferred outside the normal course of business, or outside
       the Plan of Reorganization during this reporting period?                                                                             x
2.     Are any post-confirmation sales or payroll taxes past due?
                                                                                                                                            x
3.     Are any amounts owed to post-confirmation creditors/vendors over 90 days delinquent?
                                                                                                                                            x
4.     Is the Debtor current on all post-confirmation plan payments?
                                                                                                                                 x


              *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.

       The Debtor is current on all post-confirmation plan payments


                                                     INSURANCE INFORMATION
                                                                                                                                     YES        NO*
1.     Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
       compensation, and other necessary insurance coverages in effect?                                                                     x
2.     Are all premium payments current?
                                                                                                                        x
               *If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.

                                     No physical operation or location to insure, E&O Coverage is maintiained as stated below.


                                                                       CONFIRMATION OF INSURANCE
                                                                                                                                     Payment Amount     Delinquency
                       TYPE of POLICY            and            CARRIER                                Period of Coverage             and Frequency      Amount
Professional Liability Full Program - Underwriters at Lloyd's, London                               5/23/19-20                        8576.16 Annual         0




                         DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:




     Estimated Date of Filing the Application for Final Decree: ____________________
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QUARTERLY STATUS REPORT -                                                                                    ATTACHMENT NO. 2
POST CONFIRMATION

                                    CHAPTER 11 POST-CONFIRMATION
                                SCHEDULE OF RECEIPTS AND DISBURSEMENTS


Case Name:                    ICPW Liquidation Corporation, a California corporation, et al.

Case Number:                  Lead Case No. 1:17-bk-12408-MB

Date of Plan Confirmation: 2/13/2018

                    All items must be answered. Any which do not apply should be answered “none” or “N/A”.


                                                                                     Quarterly        Post Confirmation Total
1.   CASH (Beginning of Period)                                           $            1,268,484.67 $            15,367,377.27


2.   INCOME or RECEIPTS during the Period                                 $                      575.43 $           2,628,316.89
                NOTE : $34,217.78 of the PCT receipts were payments from BBI customers to be remitted to BBI
3.   DISBURSEMENTS
     a.   Operating Expenses (Fees/Taxes):
          (i)   U.S. Trustee Quarterly Fees                               $                    29,753.12 $            160,007.54
          (ii) Federal Taxes                                                                                          100,000.00
          (iii) State Taxes                                                                                            41,597.38
          (iv) Other Taxes                                                                                                  0.00
                                                                                                                               0
     b.   All Other Operating Expenses:                                   $                222,322.71 $             4,351,408.09
                Note: Includes $0 and $1,127,806.94 remitted to BBI
     c.   Plan Payments:
          (i)   Administrative Claims                                     $                         0.00 $          1,282,400.39
          (ii) Class One*                                                                           0.00               55,516.47
          (iii) Class Two                                                                           0.00                    0.00
          (iv) Class Three                                                                          0.00                    0.00
          (v)   Class Four                                                                          0.00                    0.00
          (vi) Trust Beneficiaries                                                             91,635.31           10,747,636.19
                (Attach additional pages as needed)
                * Note: Re-issuance of payments already scheduled

     Total Disbursements (Operating & Plan)                               $                343,711.14 $            16,738,566.06

4.   CASH (End of Period)                                                 $                925,348.96 $             1,257,128.10
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QUARTERLY STATUS REPORT -                                                                                                                                                         ATTACHMENT NO. 3
POST CONFIRMATION



                                                                             CHAPTER 11 POST-CONFIRMATION
                                                                             BANK ACCOUNT RECONCILIATIONS
                                                                          Prepare Reconcilation for each Month of the Quarter


Bank Account Information                           Account        Account       Account                       Account             Account           Account          Account              Account
                                                      #1             #2           #3                            #4                  #5                #6               #7                   #8
Name of Bank:                                  Signature Bank Signature Bank TD Bank                       TD Bank             TD Bank           TD Bank          TD Bank              TD Bank

Account Number:                                     x0112             x0120                x4123               x3018               x9869             x9893             x4074               x4058
                                                                  Excess Cash                              Operating
Purpose of Account (Operating/Payroll/Tax)     Disbursment        Reserve              Disbursement        Reserve             Class 1 Reserve Tax Reserve        Class 3 Reserve Class 4 Reserve

Type of Account (e.g. checking)                Checking           Checking             Checking            Money Market        Money Market      Money Market     Money Market         Money Market

1. Balance per Bank Statement Beginning of
period                                               239,670.27        263,909.38                 189.35        271,800.86          394,311.06        92,879.28          2,818.02            2,906.45
Deposits                                                                        0.00        171,804.09                 55.26            129.28            30.45                 0.46                0.95
Withdrawals                                          -38,397.92                             -80,094.07         -171,804.09
1. Balance per Bank Statement                        201,272.35        263,909.38            91,899.37          100,052.03          394,440.34        92,909.73          2,818.48            2,907.40
2. ADD: Deposits not credited
3. SUBTRACT: Outstanding Checks
4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)         201,272.35        263,909.38            91,899.37          100,052.03          394,440.34        92,909.73          2,818.48            2,907.40


Note: Attach copy of each bank statement and bank reconciliation.


Investment Account Information
                                                   Current           Current              Current             Current             Current           Current           Current             Current
        Bank / Account Name / Number                Value             Value                Value               Value               Value             Value             Value               Value
N/A




Note: Attach copy of each investment account statement.
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POST CONFIRMATION



                                                                                CHAPTER 11 POST-CONFIRMATION
                                                                                BANK ACCOUNT RECONCILIATIONS
                                                                               Prepare Reconcilation for each Month of the Quarter

Bank Account Information
                                                   Account        Account       Account                         Account             Account             Account             Account              Account
                                                      #1             #2           #3                              #4                  #5                  #6                  #7                   #8
Name of Bank:                                  Signature Bank Signature Bank TD Bank                         TD Bank             TD Bank             TD Bank             TD Bank              TD Bank

Account Number:                                      x0112              x0120                x4123               x3018               x9869               x9893                x4074               x4058
                                                                    Excess Cash                              Operating
Purpose of Account (Operating/Payroll/Tax)     Disbursment          Reserve              Disbursement        Reserve             Class 1 Reserve Tax Reserve             Class 3 Reserve Class 4 Reserve

Type of Account (e.g. checking)                Checking             Checking             Checking            Money Market        Money Market        Money Market        Money Market         Money Market

1. Balance per Bank Statement Beginning of
period                                               201,272.35          263,909.38            91,899.37          100,052.03          394,440.34          92,909.73             2,818.48            2,907.40
Deposits                                                                          0.00         53,803.80          331,863.37                 71.99               31.48                 0.48                0.98
Withdrawals                                           -13,434.68                             -140,391.01          -53,803.80         -331,779.14
1. Balance per Bank Statement                        187,837.67          263,909.38             5,312.16          378,111.60           62,733.19          92,941.21             2,818.96            2,908.38
2. ADD: Deposits not credited
3. SUBTRACT: Outstanding Checks
4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)         187,837.67          263,909.38             5,312.16          378,111.60           62,733.19          92,941.21             2,818.96            2,908.38

Note: Attach copy of each bank statement and
bank reconciliation.                                         0.00                 0.00                0.00                0.00                0.00                0.00                 0.00                0.00


Investment Account Information
                                                   Current             Current              Current             Current             Current             Current              Current             Current
           Bank / Account Name / Number             Value               Value                Value               Value               Value               Value                Value               Value
N/A




Note: Attach copy of each investment account statement.
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QUARTERLY STATUS REPORT -                                                                                                                                                                ATTACHMENT NO. 3
POST CONFIRMATION



                                                                               CHAPTER 11 POST-CONFIRMATION
                                                                               BANK ACCOUNT RECONCILIATIONS
                                                                            Prepare Reconcilation for each Month of the Quarter

Bank Account Information
                                                   Account        Account       Account                         Account             Account             Account             Account              Account
                                                      #1             #2           #3                              #4                  #5                  #6                  #7                   #8
Name of Bank:                                  Signature Bank Signature Bank TD Bank                         TD Bank             TD Bank             TD Bank             TD Bank              TD Bank

Account Number:                                     x0112               x0120                x4123               x3018               x9869               x9893                x4074               x4058
                                                                    Excess Cash                              Operating
Purpose of Account (Operating/Payroll/Tax)     Disbursment          Reserve              Disbursement        Reserve             Class 1 Reserve Tax Reserve             Class 3 Reserve Class 4 Reserve

Type of Account (e.g. checking)                Checking             Checking             Checking            Money Market        Money Market        Money Market        Money Market         Money Market

1. Balance per Bank Statement Beginning of
period                                              187,837.67           263,909.38             5,312.16          378,111.60           62,733.19          92,941.21             2,818.96            2,908.38
Deposits                                                                          0.00         31,560.75             117.42                20.57              30.47                    0.46                0.95
Withdrawals                                          -39,802.71                               -31,590.75          -31,560.75
1. Balance per Bank Statement                       148,034.96           263,909.38             5,282.16          346,668.27           62,753.76          92,971.68             2,819.42            2,909.33
2. ADD: Deposits not credited
3. SUBTRACT: Outstanding Checks                      -95,686.46
4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)          52,348.50          263,909.38             5,282.16          346,668.27           62,753.76          92,971.68             2,819.42            2,909.33

Note: Attach copy of each bank statement and
bank reconciliation.                                         0.00                 0.00                0.00                0.00                0.00                0.00                 0.00                0.00


Investment Account Information
                                                   Current             Current              Current             Current             Current             Current              Current             Current
        Bank / Account Name / Number                Value               Value                Value               Value               Value               Value                Value               Value
N/A




Note: Attach copy of each investment account statement.
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POST CONFIRMATION

                                          CHAPTER 11 POST-CONFIRMATION
                                     CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                      Signature Bank
Account Number                                                    x0112
Purpose of Account (Operating/Payroll/Personal)                   Escrow
Type of Account (e.g., Checking)                                  Checking

  Check      Date of
 Number    Transaction                       Payee                                Purpose or Description           Amount
1809            4/2/2020   KYLE EDLUND                            Trust Distribution                                   706.91
Wire            4/9/2020   Wells Fargo Clearing Services LLC      Trust Distribution                                27,614.47
1723           4/10/2020   HEIDI JAEGER TTEE                      Trust Distribution                                 2,715.79
1800           4/10/2020   HEIDI JAEGER                           Trust Distribution                                   724.75
1884           4/14/2020   NATHAN ALLEN                           Trust Distribution                                   118.00
1911           4/21/2020   LAURA B PANNIER                        Trust Distribution                                    47.20
1862           4/22/2020   ALAN HSU                               Trust Distribution                                   188.80
1937           4/29/2020   TAMALPAIS PARTNERS                     Trust Distribution                                 1,428.95
                         ROBERT H KEELEY & SANDRA D
1940           4/29/2020 KEELEY JT TEN                            Trust Distribution                                 3,183.27
                         ROBERT H KEELEY & SANDRA D
1941           4/29/2020 KEELEY JT TEN                            Trust Distribution                                  770.08
                           ROBERT H KEELEY & SANDRA D
1942           4/29/2020   KEELEY JT TEN                          Trust Distribution                                   899.70
1699            5/4/2020   Pat Collins                            Trust Distribution                                 4,720.00
1742            5/8/2020   Estate of DONALD P ELLIOTT             Trust Distribution                                 1,863.66
1938           5/14/2020   PETER SEAMANS                          Trust Distribution                                   649.96
1939           5/14/2020   PETER SEAMANS                          Trust Distribution                                   759.35
1945           5/19/2020   M DIGREGORIO & A DIGREGORIO TT         Trust Distribution                                 2,832.00
1757           5/22/2020   THOMAS J CHOKEL                        Trust Distribution                                 1,609.07
1655           5/22/2020   Guy Shamir                             Trust Distribution                                 1,000.64
                           Pensco Trust Company, LLC FBO John E
1956            6/2/2020   Whitsett IRA                           Trust Distribution                                 1,878.75
                         Pensco Trust Company, LLC FBO John E
1957            6/2/2020 Whitsett IRA                             Trust Distribution                                  454.50
                         Pensco Trust Company, LLC FBO John E
1958            6/2/2020 Whitsett IRA                             Trust Distribution                                  531.00
                           TODD M TOWNSEND ROTH IRA COR
1807            6/4/2020   CLEARING CUST                          Trust Distribution                                   708.00
1943            6/4/2020   CHERYL WASHINGTON                      Trust Distribution                                    40.40
1944            6/4/2020   CHERYL WASHINGTON                      Trust Distribution                                    47.20
1950            6/4/2020   JAMES SEIBEL                           Trust Distribution                                 3,618.39
1951            6/4/2020   JAMES SEIBEL                           Trust Distribution                                   875.35
1953            6/4/2020   BROCK GANELES                          Trust Distribution                                 5,832.73
1954            6/4/2020   BROCK GANELES                          Trust Distribution                                 1,411.03
1955            6/4/2020   BROCK GANELES                          Trust Distribution                                 1,648.53
1762            6/5/2020   CANACCORD GENUITY INC                  Trust Distribution                                 1,498.34
1952            6/5/2020   JAMES SEIBEL                           Trust Distribution                                 1,022.68
1959            6/5/2020   CINDY MATTHEWS                         Trust Distribution                                   955.24
1960            6/5/2020   CINDY MATTHEWS                         Trust Distribution                                   231.09
1961            6/5/2020   CINDY MATTHEWS                         Trust Distribution                                   269.98
1736            6/8/2020   Goldman Sachs                          Trust Distribution                                 2,360.00
1886           6/11/2020   PRESTON SOECHTING                      Trust Distribution                                   118.00
1962           6/16/2020   Edward D. Jones & Co.                  Trust Distribution                                    83.50
1927           6/19/2020   DAN R CHIER                            Trust Distribution                                    33.04
1828           6/29/2020   ROBERT C CLARK                         Trust Distribution                                   449.86
1946           6/30/2020   The Vanguard Group                     Trust Distribution                                 7,256.83
1947           6/30/2020   The Vanguard Group                     Trust Distribution                                 8,478.27

                                                                                                           TOTAL    91,635.31
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POST CONFIRMATION

                                         CHAPTER 11 POST-CONFIRMATION
                             Outstanding CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                   Signature Bank
Account Number                                                 x0112
Purpose of Account (Operating/Payroll/Personal)                Escrow
Type of Account (e.g., Checking)                               Checking

 Check       Date of
Number     Transaction                         Payee                           Purpose or Description       Amount
   1067         6/7/2018   BRUCE G KLASS                       Trust Distribution                            9,549.90
   1077         6/7/2018   Goldman Sachs                       Trust Distribution                            8,350.00
   1085         6/7/2018   SEGAL FAMILY TRUST                  Trust Distribution                            6,593.91
   1156         6/7/2018   Cantor Fitzgerald & Co.             Trust Distribution                            1,633.43
   1157         6/7/2018   ROBERT C CLARK                      Trust Distribution                            1,591.68
   1167         6/7/2018   SSBT TTEE                           Trust Distribution                            1,068.80
   1185         6/7/2018   LOIS B MAY TTEE                     Trust Distribution                              751.50
   1205         6/7/2018   OWEN BENNETT MULLER                 Trust Distribution                              417.50
   1209         6/7/2018   JOSHUA CRINKLAW                     Trust Distribution                              417.50
   1214         6/7/2018   JOSHUA LOUIS CAIN                   Trust Distribution                              417.50
   1233         6/7/2018   KIMIKO ANN SNYDER                   Trust Distribution                              208.75
   1240         6/7/2018   MILES POTEAT EGGART                 Trust Distribution                              167.00
   1250         6/7/2018   REYHEENA EIDARIUS                   Trust Distribution                              125.25
   1252         6/7/2018   MIKE SALOMON                        Trust Distribution                              109.64
   1261         6/7/2018   AUSTIN RUIZ WATKINS                 Trust Distribution                               83.50
   1362         2/5/2019   Alex Jin                            Trust Distribution                              835.00
   1375        9/16/2019   Alex Jin                            Trust Distribution                              202.00
                         BARBARA JOAN DEGEORGE & M
    1392       9/16/2019 DEGEORGE KELLY JT TEN                 Trust Distribution                               161.6
    1400       9/16/2019 BRUCE G KLASS                         Trust Distribution                             2310.27
                         BUD W BRUTSMAN PLEDGED TO ML
    1401       9/16/2019 LENDER                                Trust Distribution                                50.5
                         CASEY E FOLKS JR. (DECD) BRYAN
    1409       9/16/2019 FOLKS (BENE)                          Trust Distribution                                90.9
                         CASEY E FOLKS JR. (DECD) DARYL
    1410       9/16/2019 FOLKS (BENE)                          Trust Distribution                                90.9
                           DELTEC SPECIAL SITUATIONS
    1436       9/16/2019   PARTNERS LP                         Trust Distribution                             2677.91
    1441       9/16/2019   ED WETHERBEE                        Trust Distribution                              117.08
    1454       9/16/2019   Goldman Sachs                       Trust Distribution                               2020
    1470       9/16/2019   HUI-YA HSU                          Trust Distribution                                202
    1487       9/16/2019   JOHN JAMES DARNELL                  Trust Distribution                               31.41
    1495       9/16/2019   JOSHUA CRINKLAW                     Trust Distribution                                101
    1496       9/16/2019   JOSHUA LOUIS CAIN                   Trust Distribution                                101
    1503       9/16/2019   KIMIKO ANN SNYDER                   Trust Distribution                                50.5
    1514       9/16/2019   KYLE EDLUND                         Trust Distribution                              605.07
    1520       9/16/2019   LOIS B MAY TTEE                     Trust Distribution                               181.8
    1523       9/16/2019   MARA ROSNER KEDEM CUST FOR          Trust Distribution                               1010
    1538       9/16/2019   MICHAEL B JOHNSON                   Trust Distribution                             1999.17
                           MICHAEL R CICERO & WILLIAM M
    1542       9/16/2019   VEAZEY                              Trust Distribution                               110.60
    1545       9/16/2019   MIKE SALOMON                        Trust Distribution                                26.52
    1547       9/16/2019   MILES POTEAT EGGART                 Trust Distribution                                40.40
    1549       9/16/2019   MILWAUKEE DEF COMP BOARD TTEE       Trust Distribution                               242.40
    1550       9/16/2019   MILWAUKEE DEF COMP BOARD TTEE       Trust Distribution                               308.07
    1551       9/16/2019   MILWAUKEE DEF COMP BOARD TTEE       Trust Distribution                             4,936.48
    1561       9/16/2019   OWEN BENNETT MULLER                 Trust Distribution                               101.00
                           PHTC Inc PFT SHG PLN UAD 12/30/94
    1572       9/16/2019   John Cole TTEE                      Trust Distribution                               202.00
    1579       9/16/2019   REYHEENA EIDARIUS                   Trust Distribution                                30.30
    1608       9/16/2019   SEGAL FAMILY TRUST                  Trust Distribution                             1,595.17
    1614       9/16/2019   SSBT TTEE                           Trust Distribution                               258.56
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QUARTERLY STATUS REPORT -                                                                                            ATTACHMENT NO. 4
POST CONFIRMATION

  Check        Date of
 Number      Transaction                   Payee                                              Purpose or Description                    Amount
    1633         9/16/2019 THOMAS KENDALL                                     Trust Distribution                                           382.00
                           ALL IN THE BEHL FAMILY LP A
     1700         2/4/2020 PARTNERSHIP                                        Trust Distribution                                          4498.53
     1712         2/4/2020 Ethan Penner                                       Trust Distribution                                            3540
                              DELTEC SPECIAL SITUATIONS
     1716          2/4/2020   PARTNERS LP                                     Trust Distribution                                          3128.65
     1717          2/4/2020   SPM CENTER LLC                                  Trust Distribution                                          3113.05
     1722          2/4/2020   THOMAS ELLIOTT                                  Trust Distribution                                          2798.27
     1726          2/4/2020   BRUCE G KLASS                                   Trust Distribution                                          2699.13
     1738          2/4/2020   MICHAEL B JOHNSON                               Trust Distribution                                          2335.66
     1744          2/4/2020   SEGAL FAMILY TRUST                              Trust Distribution                                          1863.66
     1779          2/4/2020   MARA ROSNER KEDEM CUST FOR                      Trust Distribution                                            1180
                              THE WILLIAM J. & SEEMAH W. IDELSON
     1786          2/4/2020   FAMILY TRUST                                    Trust Distribution                                          1057.84
     1812          2/4/2020   MATTHEW JUETTEN                                 Trust Distribution                                            597.5
     1827          2/4/2020   Cantor Fitzgerald & Co.                         Trust Distribution                                           461.66
     1842          2/4/2020   SSBT TTEE                                       Trust Distribution                                           302.08
     1654          2/4/2020   Alex Jin                                        Trust Distribution                                             236
     1853          2/4/2020   HUI-YA HSU                                      Trust Distribution                                             236
                              Milwaukee Deferred Compensation Plan FBO
     1855          2/4/2020   THEOFILOS RAFAELIDYS                            Trust Distribution                                             236
     1860          2/4/2020   LOIS B MAY TTEE                                 Trust Distribution                                            212.4
                            THE ELLEN IDELSON TRUST DATED
     1861          2/4/2020 MARCH 20 2003                                     Trust Distribution                                           211.59
                              BARBARA JOAN DEGEORGE & M
     1863          2/4/2020   DEGEORGE KELLY JT TEN                           Trust Distribution                                           188.80
     1871          2/4/2020   MSSB C/F AUDREY G BEYER                         Trust Distribution                                           141.60
     1882          2/4/2020   JOSHUA CRINKLAW                                 Trust Distribution                                           118.00
     1883          2/4/2020   JOSHUA LOUIS CAIN                               Trust Distribution                                           118.00
     1885          2/4/2020   OWEN BENNETT MULLER                             Trust Distribution                                             118
                              CASEY E FOLKS JR. (DECD)
     1891          2/4/2020   BRYAN FOLKS (BENE)                              Trust Distribution                                            106.2
     1919          2/4/2020   ELIZABETH ROSNER                                Trust Distribution                                             82.9
     1920          2/4/2020   ELIZABETH ROSNER                                Trust Distribution                                            82.60
     1899          2/4/2020   STUBBS ALDERTON & MARKILES LLP                  Trust Distribution                                            73.70
     1901          2/4/2020   ANTHONY KEATS                                   Trust Distribution                                            61.12
     1905          2/4/2020   KIMIKO ANN SNYDER                               Trust Distribution                                            59.00
                              ERIC CARL HANSEN & TRACY LYNN
     1910          2/4/2020   HANSEN JT TEN                                   Trust Distribution                                            47.20
     1912          2/4/2020   MILES POTEAT EGGART                             Trust Distribution                                            47.20
     1913          2/4/2020   Patricia Duke                                   Trust Distribution                                            47.20
     1917          2/4/2020   KONRAD GATIEN                                   Trust Distribution                                            44.46
     1923          2/4/2020   JOHN JAMES DARNELL                              Trust Distribution                                            36.69
     1926          2/4/2020   REYHEENA EIDARIUS                               Trust Distribution                                            35.40
     1928          2/4/2020   MIKE SALOMON                                    Trust Distribution                                            30.98
     1929          2/4/2020   KENT ASTLE                                      Trust Distribution                                            28.32
     1933         2/12/2020   MILWAUKEE DEF COMP BOARD TTEE                   Trust Distribution                                             202
     1948         5/15/2020   THE VERTICAL TRADING GROUP LLC                  Trust Distribution                                            1111
     1949         5/15/2020   THE VERTICAL TRADING GROUP LLC                  Trust Distribution                                            1298
     1963         5/29/2020   G1 EXECUTION SERVICES, LLC                      Trust Distribution                                            417.5
     1964         5/29/2020   G1 EXECUTION SERVICES, LLC                      Trust Distribution                                             101
     1965         5/29/2020   G1 EXECUTION SERVICES, LLC                      Trust Distribution                                             118
     1969         6/25/2020   GREAT PANDA INVESTMENT CO LLLP                  Trust Distribution                                          6366.54
     1970         6/25/2020   GREAT PANDA INVESTMENT CO LLLP                  Trust Distribution                                          1540.16
     1971         6/25/2020   GREAT PANDA INVESTMENT CO LLLP                  Trust Distribution                                           1799.4


                                                                                                                         TOTAL           95,686.46

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
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QUARTERLY STATUS REPORT -                                                                               ATTACHMENT NO. 4
POST CONFIRMATION

                                         CHAPTER 11 POST-CONFIRMATION
                                    CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                 TD Bank
Account Number                                               x4123
Purpose of Account (Operating/Payroll/Personal)              Operating
Type of Account (e.g., Checking)                             Checking

  Check     Date of
 Number   Transaction                      Payee                           Purpose or Description            Amount
EFT            4/1/2020   TD Bank                            Bank Fees                                            30.00
EFT            4/1/2020   TD Bank                            Bank Fees                                            30.00
EFT            4/1/2020   TD Bank                            Bank Fees                                            30.00
EFT            4/1/2020   Ron Chez, Inc                      Trust Administration                             10,000.00
EFT            4/1/2020   Patrick O'brien                    Trust Administration                             10,000.00
EFT            4/1/2020   Matthew Pliskin                    Trust Administration                             49,974.07
995101        4/28/2020   SCOTT JARUS                        Trust Board Fees                                 10,000.00
EFT           4/30/2020   TD Bank                            Bank Fees                                            30.00
995103         5/1/2020   FTI Consulting                     Legal Support                                     5,924.80
995105         5/1/2020   Mesirow Insurance Services         Insurance                                         8,572.90
995102         5/6/2020   Dentons LLP                        Legal Fees                                        6,562.64
995104         5/6/2020   Hemming Morse LLP                  Legal Support                                    55,743.75
1157           5/8/2020   US Trustee                         US Trustee Payments                                 325.00
1158           5/8/2020   US Trustee                         US Trustee Payments                              29,428.12
995106        5/12/2020   Scott Jarus                        Trust Administration                             10,000.00
995109        5/26/2020   Solomon & Cramer LLP               Legal Fees                                          536.80
995107        5/26/2020   BPE&H An Accountancy Corporation   Tax Accounting                                   10,900.00
995108        5/27/2020   Hemming Morse LLP                  Legal Support                                    12,367.00
EFT           5/29/2020   TD Bank                            Bank Fees                                            30.00
995110        6/22/2020   Solomon & Cramer LLP               Legal Fees                                       31,560.75
EFT           6/30/2020   TD Bank                            Bank Fees                                            30.00

                                                                                                    TOTAL     252,075.83
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QUARTERLY STATUS REPORT -                                                                                            ATTACHMENT NO. 4
POST CONFIRMATION

                                           CHAPTER 11 POST-CONFIRMATION
                               Outstanding CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                                TD Bank
Account Number                                                              x4123
Purpose of Account (Operating/Payroll/Personal)                             Operating
Type of Account (e.g., Checking)                                            Checking

  Check        Date of
 Number      Transaction                         Payee                                     Purpose or Description                       Amount




                                                                                                                       TOTAL                0.00

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
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QUARTERLY STATUS REPORT -                                                                    ATTACHMENT NO. 4
POST CONFIRMATION

                                        CHAPTER 11 POST-CONFIRMATION
                                   CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                             TD Bank
Account Number                                           x4123
Purpose of Account (Operating/Payroll/Personal)          Operating
Type of Account (e.g., Checking)                         Checking

  Check     Date of
 Number   Transaction                        Payee                      Purpose or Description           Amount
xfer           4/1/2020   Transfer to checking           Internal Transfer                                85,000.00
xfer          4/24/2020   Transfer to checking           Internal Transfer                                76,804.09
xfer          4/30/2020   Transfer to checking           Internal Transfer                                10,000.00
xfer          5/11/2020   Transfer to checking           Internal Transfer                                25,000.00
xfer          5/11/2020   Transfer to checking           Internal Transfer                                 5,000.00
xfer          5/15/2020   Transfer to checking           Internal Transfer                                23,803.80
xfer          6/12/2020   Transfer to checking           Internal Transfer                                31,560.75


                                                                                                 TOTAL   257,168.64
QUARTERLY STATUS REPORT -
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POST CONFIRMATION                                                                                Main Document     Page 14 of 69
                                                                                                        CHAPTER 11 POST-CONFIRMATION
                                                                                                             INTEREST RECEIVED


                                Account        Account           Account           Account        Account       Account       Account        Account         Account          Account         Account       Account        Account       Account
                                  #1             #2                #3                #4             #5            #6            #7             #8              #9               #11             #12           #13            #14            5

                                                                                  Signature      Signature     Signature   Signature        Signature
Name of Bank:                Capital One    Signature Bank Signature Bank         Bank           Bank          Bank        Bank             Bank       TD Bank              TD Bank         TD Bank     TD Bank          TD Bank     TD Bank
Account Number:              4670100575     1503390112     1503390120             1503390139     1503397032    1503397040 1503397059        1503397067 434-6414123          434-6413018     434-6409869 434-6409893      434-6414074 434-6414058
Account Number:                   x0575          x0112          x0120                x0139          x7032         x7040       x7059            x7067        x4123               x3018          x9869       x9893            x4074         x4058
Purpose of Account                                         Excess Cash            Operating      Class 1                   Class 3          Class 4                         Operating       Class 1                      Class 3
(Operating/Payroll/Tax)      Disbursement   Disbursment    Reserve                Reserve        Reserve       Tax Reserve Reserve          Reserve    Disbursement         Reserve         Reserve     Tax Reserve      Reserve     Class 4 Reserve
Type of Account (e.g.
checking)                    Checking       Checking          Checking            Checking       Checking      Checking      Checking       Checking      Checking          Money MarketMoney MarketMoney MarketMoney MarketMoney Market
Month
                10/31/2018                                                26.93       1,718.04        358.51         84.46       2,158.31        234.60
                11/30/2018                                                26.19          52.55         11.57                        69.66                                         2774.02          610.05        143.7         3672.77         399.19
                12/31/2018                                                27.11                                                                                                   2844.07          653.16       153.85          3932.3          427.4
                                                       0.00               80.23       1,770.59        370.08         84.46       2,227.97        234.60              0.00        5,618.09        1,263.21       297.55        7,605.07         826.59     20,378.44

                 1/31/2019                                                27.13                                                                                                   2965.37          715.47       168.53         4307.47         468.18
                 2/28/2019                                                24.53                                                                                                   2575.69          651.25        153.4         3920.84         426.16
                 3/31/2019                                                27.18                                                                                                    2754.3          722.25       170.12         4348.26         472.61
                                                       0.00               78.84          0.00           0.00          0.00           0.00          0.00              0.00        8,295.36        2,088.97       492.05       12,576.57       1,366.95     24,898.74

                 4/30/2019                                                26.33                                                                                                   2538.51          700.25       164.94         4215.85         458.22
                 5/31/2019                                                27.23                                                                                                   2490.69          724.90       170.75         4364.26         474.35
                 6/30/2019                                                26.38                                                                                                   2253.78          702.83       165.55         4231.37         459.91
                                                       0.00               79.94          0.00           0.00          0.00           0.00          0.00              0.00        7,282.98        2,127.98       501.24       12,811.48       1,392.48     24,196.10

                 7/31/2019                                              27.28                                                                                                     1954.78          727.57       171.38         4380.32          476.1
                 8/31/2019                                           1,589.36                                                                                                     1770.93          664.80       156.59         4002.42         435.02
                 9/30/2019                                             850.14                                                                                                     1490.97          626.32       147.53         3770.75         409.84
                                                       0.00          2,466.78            0.00           0.00          0.00           0.00          0.00              0.00        5,216.68        2,018.69       475.50       12,153.49       1,320.96     23,652.10

                10/31/2019                                               239.67                                                                                                   1187.35          570.49       134.38         3434.62         373.31
                11/30/2019                                               237.73                                                                                                    897.09          499.37       117.63         3006.44         326.77
                12/31/2019                                               245.88                                                                                                    828.75          483.34       113.85         2909.93         316.28
                                                       0.00              723.28          0.00           0.00          0.00           0.00          0.00              0.00        2,913.19        1,553.20       365.86        9,350.99       1,016.36     15,922.88

                 1/31/2020                                               246.11                                                                                                    496.98          482.61       113.68         2811.82          315.8      4,467.00
                 2/29/2020                                               230.44                                                                                                    402.55          452.03       106.48            3.23         295.79      1,490.52
                 3/31/2020                                               119.27                                                                                                     221.9          414.88        97.72            2.97         154.44      1,011.18
                                                       0.00              595.82          0.00           0.00          0.00           0.00          0.00              0.00        1,121.43        1,349.52       317.88        2,818.02         766.03      6,968.70

                 4/30/2020                                                                                                                                                         55.26          129.28         30.45            0.46             0.95     216.40
                 5/31/2020                                                                                                                                                         84.23           71.99         31.48            0.48             0.98     189.16
                 6/30/2020                                                                                                                                                        117.42           20.57         30.47            0.46             0.95     169.87
                                                       0.00                0.00          0.00           0.00          0.00           0.00          0.00              0.00         256.91          221.84         92.40            1.40             2.88     575.43
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             Ü×ÍÞËÎÍÛÓÛÒÌ ßÝÝÑËÒÌ
             íçðî É ØÛÒÜÛÎÍÑÒ ÞÔÊÜô ÍË×ÌÛ îðèóííê
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              ÍÛÝÌ×ÑÒ ÔÑÝßÌÛÜ ËÒÜÛÎ ÌØÛ þßÞÑËÌ ËÍþ ØÛßÜ×ÒÙ ßÌ ÉÉÉòÍ×ÙÒßÌËÎÛÒÇòÝÑÓò ÍÛÔÛÝÌ
              þÞËÍ×ÒÛÍÍ ÛóÓß×Ô ÝÑÓÐÎÑÓ×ÍÛþ ÌÑ ÎÛßÜ ÌØÛ ÎÛÝÛÒÌ ÒÛÉÍ ÚÎÑÓ ÌØÛ ÚÛÜÛÎßÔ
              ÞËÎÛßË ÑÚ ×ÒÊÛÍÌ×ÙßÌ×ÑÒ ÎÛÙßÎÜ×ÒÙ ÚÎßËÜ ÌßÎÙÛÌ×ÒÙ ÞËÍ×ÒÛÍÍÛÍô ×ÒÝÔËÜ×ÒÙ
              ÙË×ÜßÒÝÛ ÑÒ ÉØßÌ ÇÑË ÝßÒ ÜÑ ÌÑ ÎÛÜËÝÛ ÇÑËÎ Î×ÍÕ ÑÚ ÞÛÝÑÓ×ÒÙ ß Ê×ÝÌ×Óò
              Í×ÙÒßÌËÎÛ ÞßÒÕ ÞÛÔ×ÛÊÛÍ ÌØßÌ ÌØ×Í ×Í ×ÓÐÑÎÌßÒÌ ÒÛÉÍ ÌÑ ÍØßÎÛ É×ÌØ ÑËÎ
              ÝÔ×ÛÒÌÍò ÉÛ ßÎÛ ÓßÕ×ÒÙ ×Ì ßÊß×ÔßÞÔÛ ÌÑ ÇÑË ÚÑÎ ÇÑËÎ ×ÒÚÑÎÓßÌ×ÑÒ ßÒÜ ßÒÇ
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             ×ÝÐÉ ÒÛÊßÜß ÌÎËÍÌ                              çóïêï
             ÓßÌÌØÛÉ ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
             Ü×ÍÞËÎÍÛÓÛÒÌ ßÝÝÑËÒÌ
             íçðî É ØÛÒÜÛÎÍÑÒ ÞÔÊÜô ÍË×ÌÛ îðèóííê
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                                                                       ÒÛÉ ÇÑÎÕô ÒÇ ïððïé



             ×ÝÐÉ ÒÛÊßÜß ÌÎËÍÌ                      çóïêï
             ÓßÌÌØÛÉ ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
             Ü×ÍÞËÎÍÛÓÛÒÌ ßÝÝÑËÒÌ
             íçðî É ØÛÒÜÛÎÍÑÒ ÞÔÊÜô ÍË×ÌÛ îðèóííê
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             ×ÝÐÉ ÒÛÊßÜß ÌÎËÍÌ                       çóïêï
             ÓßÌÌØÛÉ ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
             Ü×ÍÞËÎÍÛÓÛÒÌ ßÝÝÑËÒÌ
             íçðî É ØÛÒÜÛÎÍÑÒ ÞÔÊÜô ÍË×ÌÛ îðèóííê
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              ßÊÑ×Ü ÞËÍ×ÒÛÍÍ ÛóÓß×Ô Ú×ÒßÒÝ×ßÔ ÚÎßËÜÿ ÐÔÛßÍÛ Ê×Í×Ì ÌØÛ þÐÎ×ÊßÝÇ ú ÍÛÝËÎ×ÌÇþ
              ÍÛÝÌ×ÑÒ ÔÑÝßÌÛÜ ËÒÜÛÎ ÌØÛ þßÞÑËÌ ËÍþ ØÛßÜ×ÒÙ ßÌ ÉÉÉòÍ×ÙÒßÌËÎÛÒÇòÝÑÓò ÍÛÔÛÝÌ
              þÞËÍ×ÒÛÍÍ ÛóÓß×Ô ÝÑÓÐÎÑÓ×ÍÛþ ÌÑ ÎÛßÜ ÌØÛ ÎÛÝÛÒÌ ÒÛÉÍ ÚÎÑÓ ÌØÛ ÚÛÜÛÎßÔ
              ÞËÎÛßË ÑÚ ×ÒÊÛÍÌ×ÙßÌ×ÑÒ ÎÛÙßÎÜ×ÒÙ ÚÎßËÜ ÌßÎÙÛÌ×ÒÙ ÞËÍ×ÒÛÍÍÛÍô ×ÒÝÔËÜ×ÒÙ
              ÙË×ÜßÒÝÛ ÑÒ ÉØßÌ ÇÑË ÝßÒ ÜÑ ÌÑ ÎÛÜËÝÛ ÇÑËÎ Î×ÍÕ ÑÚ ÞÛÝÑÓ×ÒÙ ß Ê×ÝÌ×Óò
              Í×ÙÒßÌËÎÛ ÞßÒÕ ÞÛÔ×ÛÊÛÍ ÌØßÌ ÌØ×Í ×Í ×ÓÐÑÎÌßÒÌ ÒÛÉÍ ÌÑ ÍØßÎÛ É×ÌØ ÑËÎ
              ÝÔ×ÛÒÌÍò ÉÛ ßÎÛ ÓßÕ×ÒÙ ×Ì ßÊß×ÔßÞÔÛ ÌÑ ÇÑË ÚÑÎ ÇÑËÎ ×ÒÚÑÎÓßÌ×ÑÒ ßÒÜ ßÒÇ
              ßÝÌ×ÑÒ ÌØßÌ ÇÑË ÓßÇ ÝÑÒÍ×ÜÛÎ ßÐÐÎÑÐÎ×ßÌÛò

Í·¹²¿¬«®» Î»´¿¬·±²-¸·° Í«³³¿®§                                    Ñ°»²·²¹ Þ¿´ò                  Ý´±-·²¹ Þ¿´ò

ÞßÒÕ ÜÛÐÑÍ×Ì ßÝÝÑËÒÌÍ
      ðïïî      ÓÑÒÑÙÎßÓ ÝØÛÝÕ×ÒÙ                                   îðïôîéîòíë                      ïèéôèíéòêé

              ÎÛÔßÌ×ÑÒÍØ×Ð              ÌÑÌßÔ                                                       ïèéôèíéòêé
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                                                                                        Í¬¿¬»³»²¬ Ð»®·±¼
                                                                                     Ú®±³ Ó¿§       ðïô îðîð
                                                                                     Ì±   Ó¿§       íïô îðîð
                                                                                     Ð¿¹»     î ±º     î

                                                                                     ÐÎ×ÊßÌÛ ÝÔ×ÛÒÌ ÙÎÑËÐ ïêï
                                                                                     ëêë Ú×ÚÌØ ßÊÛÒËÛ
                                                                                     ÒÛÉ ÇÑÎÕô ÒÇ ïððïé



             ×ÝÐÉ ÒÛÊßÜß ÌÎËÍÌ                            çóïêï
             ÓßÌÌØÛÉ ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
             Ü×ÍÞËÎÍÛÓÛÒÌ ßÝÝÑËÒÌ
             íçðî É ØÛÒÜÛÎÍÑÒ ÞÔÊÜô ÍË×ÌÛ îðèóííê
             ÌßÓÐß ÚÔ ííêîç                                                    Í»» Þ¿½µ º±® ×³°±®¬¿²¬ ×²º±®³¿¬·±²


                                                                            Ð®·³¿®§ ß½½±«²¬æ       ðïïî           é


ÓÑÒÑÙÎßÓ ÝØÛÝÕ×ÒÙ                       ðïïî




Í«³³¿®§

 Ð®»ª·±«- Þ¿´¿²½» ¿- ±º Ó¿§          ðïô îðîð                                                             îðïôîéîòíë
        é Ü»¾·¬-                                                                                           ïíôìíìòêè
 Û²¼·²¹ Þ¿´¿²½» ¿- ±º   Ó¿§          íïô îðîð                                                             ïèéôèíéòêé


Ý¸»½µ- ¾§ Í»®·¿´ Ò«³¾»®
 Ó¿§ îî       ïêëë                 ïôðððòêì      Ó¿§ ïì            ïçíè ö              êìçòçê
 Ó¿§ ðì       ïêçç ö               ìôéîðòðð      Ó¿§ ïì            ïçíç                éëçòíë
 Ó¿§ ðè       ïéìî ö               ïôèêíòêê      Ó¿§ ïç            ïçìë ö            îôèíîòðð
 Ó¿§ îî       ïéëé ö               ïôêðçòðé

                    ö ×²¼·½¿¬»- ¾®»¿µ ·² ½¸»½µ -»¯«»²½»

Ü¿·´§ Þ¿´¿²½»-
 ß°® íð             îðïôîéîòíë                            Ó¿§ ïì             ïçíôîéçòíè
 Ó¿§ ðì             ïçêôëëîòíë                            Ó¿§ ïç             ïçðôììéòíè
 Ó¿§ ðè             ïçìôêèèòêç                            Ó¿§ îî             ïèéôèíéòêé

Î¿¬»- º±® ¬¸·- -¬¿¬»³»²¬ °»®·±¼ ó Ñª»®¼®¿º¬
Ó¿§ ðïô îðîð   ïíòðððððð û
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                                                                                Í¬¿¬»³»²¬ Ð»®·±¼
                                                                             Ú®±³ Ö«²»      ðïô îðîð
                                                                             Ì±   Ö«²»      íðô îðîð
                                                                             Ð¿¹»      ï ±º    í

                                                                             ÐÎ×ÊßÌÛ ÝÔ×ÛÒÌ ÙÎÑËÐ ïêï
                                                                             ëêë Ú×ÚÌØ ßÊÛÒËÛ
                                                                             ÒÛÉ ÇÑÎÕô ÒÇ ïððïé



             ×ÝÐÉ ÒÛÊßÜß ÌÎËÍÌ                       çóïêï
             ÓßÌÌØÛÉ ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
             Ü×ÍÞËÎÍÛÓÛÒÌ ßÝÝÑËÒÌ
             íçðî É ØÛÒÜÛÎÍÑÒ ÞÔÊÜô ÍË×ÌÛ îðèóííê
             ÌßÓÐß ÚÔ ííêîç                                            Í»» Þ¿½µ º±® ×³°±®¬¿²¬ ×²º±®³¿¬·±²


                                                                    Ð®·³¿®§ ß½½±«²¬æ         ðïïî          îí

              ÛÚÚÛÝÌ×ÊÛ ÖËÔÇ ïô îðîðô Í×ÙÒßÌËÎÛ ÞßÒÕùÍ ÚËÒÜÍ ßÊß×ÔßÞ×Ô×ÌÇ Ü×ÍÝÔÑÍËÎÛ É×ÔÔ
              ÞÛ ÎÛÊ×ÍÛÜ ßÍ ÚÑÔÔÑÉÍæ
              ÌØÛ ßÓÑËÒÌ ßÊß×ÔßÞÔÛ ÚÑÎ É×ÌØÜÎßÉßÔ ÚÎÑÓ ÝØÛÝÕ ÜÛÐÑÍ×ÌÍ ÒÑÌ ÍËÞÖÛÝÌ ÌÑ ÒÛÈÌ
              ÜßÇ ßÊß×ÔßÞ×Ô×ÌÇ É×ÔÔ ×ÒÝÎÛßÍÛ ÚÎÑÓ îðð ÜÑÔÔßÎÍ ÌÑ îîë ÜÑÔÔßÎÍ ÑÒ ÌØÛ
              Ú×ÎÍÌ ÞËÍ×ÒÛÍÍ ÜßÇ ßÚÌÛÎ ÌØÛ ÜßÇ ÑÚ ÜÛÐÑÍ×Ì ßÒÜ ÌØÛ ßÓÑËÒÌ ßÊß×ÔßÞÔÛ ÚÑÎ
              ÝßÍØ É×ÌØÜÎßÉßÔ ÑÒ ÌØÛ ÍÛÝÑÒÜ ÞËÍ×ÒÛÍÍ ÜßÇ É×ÔÔ ×ÒÝÎÛßÍÛ ÚÎÑÓ ìðð ÜÑÔÔßÎÍ ÌÑ
              ìëð ÜÑÔÔßÎÍò

              ÑÒ ÑÎ ÞÛÚÑÎÛ ÖËÔÇ ïô îðîðô ÌØÛ ÎÛÊ×ÍÛÜ Ü×ÍÝÔÑÍËÎÛ É×ÔÔ ÞÛ ßÊß×ÔßÞÔÛ ßÍ ß ÐÜÚ
              Ú×ÔÛ ÑÒ ÌØÛ þßÙÎÛÛÓÛÒÌÍ ßÒÜ Ü×ÍÝÔÑÍËÎÛÍþ ÐßÙÛ ËÒÜÛÎ ùßÞÑËÌ ËÍù ßÍ ÌØÛ
              þßÜÜÛÒÜËÓ ÌÑ ÌØÛ ÞËÍ×ÒÛÍÍ ßÝÝÑËÒÌ ßÙÎÛÛÓÛÒÌÍ ßÒÜ Ü×ÍÝÔÑÍËÎÛÍ ÛÚÚÛÝÌ×ÊÛ
              ÖËÔÇ ïô îðîðþ ßÌ ÉÉÉòÍ×ÙÒßÌËÎÛÒÇòÝÑÓ ÑÎ ÞÇ ÝÑÒÌßÝÌ×ÒÙ ÇÑËÎ ÐÎ×ÊßÌÛ ÝÔ×ÛÒÌ
              ÙÎÑËÐò

Í·¹²¿¬«®» Î»´¿¬·±²-¸·° Í«³³¿®§                                    Ñ°»²·²¹ Þ¿´ò                  Ý´±-·²¹ Þ¿´ò

ÞßÒÕ ÜÛÐÑÍ×Ì ßÝÝÑËÒÌÍ
      ðïïî      ÓÑÒÑÙÎßÓ ÝØÛÝÕ×ÒÙ                                   ïèéôèíéòêé                      ïìèôðíìòçê

              ÎÛÔßÌ×ÑÒÍØ×Ð              ÌÑÌßÔ                                                       ïìèôðíìòçê
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                                                                                          Í¬¿¬»³»²¬ Ð»®·±¼
                                                                                       Ú®±³ Ö«²»      ðïô îðîð
                                                                                       Ì±   Ö«²»      íðô îðîð
                                                                                       Ð¿¹»      î ±º    í

                                                                                       ÐÎ×ÊßÌÛ ÝÔ×ÛÒÌ ÙÎÑËÐ ïêï
                                                                                       ëêë Ú×ÚÌØ ßÊÛÒËÛ
                                                                                       ÒÛÉ ÇÑÎÕô ÒÇ ïððïé



             ×ÝÐÉ ÒÛÊßÜß ÌÎËÍÌ                              çóïêï
             ÓßÌÌØÛÉ ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
             Ü×ÍÞËÎÍÛÓÛÒÌ ßÝÝÑËÒÌ
             íçðî É ØÛÒÜÛÎÍÑÒ ÞÔÊÜô ÍË×ÌÛ îðèóííê
             ÌßÓÐß ÚÔ ííêîç                                                      Í»» Þ¿½µ º±® ×³°±®¬¿²¬ ×²º±®³¿¬·±²


                                                                              Ð®·³¿®§ ß½½±«²¬æ       ðïïî          îí


ÓÑÒÑÙÎßÓ ÝØÛÝÕ×ÒÙ                       ðïïî




Í«³³¿®§

 Ð®»ª·±«- Þ¿´¿²½» ¿- ±º Ö«²»         ðïô îðîð                                                               ïèéôèíéòêé
       îí Ü»¾·¬-                                                                                             íçôèðîòéï
 Û²¼·²¹ Þ¿´¿²½» ¿- ±º   Ö«²»         íðô îðîð                                                               ïìèôðíìòçê


Ý¸»½µ- ¾§ Í»®·¿´ Ò«³¾»®
 Ö«² ðè       ïéíê                 îôíêðòðð      Ö«²   ðë              ïçëî            ïôðîîòêè
 Ö«² ðë       ïéêî ö               ïôìçèòíì      Ö«²   ðì              ïçëí            ëôèíîòéí
 Ö«² ðì       ïèðé ö                 éðèòðð      Ö«²   ðì              ïçëì            ïôìïïòðí
 Ö«² îç       ïèîè ö                 ììçòèê      Ö«²   ðì              ïçëë            ïôêìèòëí
 Ö«² ïï       ïèèê ö                 ïïèòðð      Ö«²   ðî              ïçëê            ïôèéèòéë
 Ö«² ïç       ïçîé ö                  ííòðì      Ö«²   ðî              ïçëé              ìëìòëð
 Ö«² ðì       ïçìí ö                  ìðòìð      Ö«²   ðî              ïçëè              ëíïòðð
 Ö«² ðì       ïçìì                    ìéòîð      Ö«²   ðë              ïçëç              çëëòîì
 Ö«² íð       ïçìê ö               éôîëêòèí      Ö«²   ðë              ïçêð              îíïòðç
 Ö«² íð       ïçìé                 èôìéèòîé      Ö«²   ðë              ïçêï              îêçòçè
 Ö«² ðì       ïçëð ö               íôêïèòíç      Ö«²   ïê              ïçêî               èíòëð
 Ö«² ðì       ïçëï                   èéëòíë

                    ö ×²¼·½¿¬»- ¾®»¿µ ·² ½¸»½µ -»¯«»²½»

Ü¿·´§ Þ¿´¿²½»-
 Ó¿§ íï             ïèéôèíéòêé                              Ö«²   ïï           ïêìôííêòìê
 Ö«² ðî             ïèìôçéíòìî                              Ö«²   ïê           ïêìôîëîòçê
 Ö«² ðì             ïéðôéçïòéç                              Ö«²   ïç           ïêìôîïçòçî
 Ö«² ðë             ïêêôèïìòìê                              Ö«²   îç           ïêíôééðòðê
 Ö«² ðè             ïêìôìëìòìê                              Ö«²   íð           ïìèôðíìòçê
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                                                                          Í¬¿¬»³»²¬ Ð»®·±¼
                                                                       Ú®±³ Ö«²»      ðïô îðîð
                                                                       Ì±   Ö«²»      íðô îðîð
                                                                       Ð¿¹»      í ±º    í

                                                                       ÐÎ×ÊßÌÛ ÝÔ×ÛÒÌ ÙÎÑËÐ ïêï
                                                                       ëêë Ú×ÚÌØ ßÊÛÒËÛ
                                                                       ÒÛÉ ÇÑÎÕô ÒÇ ïððïé



             ×ÝÐÉ ÒÛÊßÜß ÌÎËÍÌ                      çóïêï
             ÓßÌÌØÛÉ ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
             Ü×ÍÞËÎÍÛÓÛÒÌ ßÝÝÑËÒÌ
             íçðî É ØÛÒÜÛÎÍÑÒ ÞÔÊÜô ÍË×ÌÛ îðèóííê
             ÌßÓÐß ÚÔ ííêîç                                      Í»» Þ¿½µ º±® ×³°±®¬¿²¬ ×²º±®³¿¬·±²


                                                              Ð®·³¿®§ ß½½±«²¬æ       ðïïî         îí


Î¿¬»- º±® ¬¸·- -¬¿¬»³»²¬ °»®·±¼ ó Ñª»®¼®¿º¬
Ö«² ðïô îðîð   ïíòðððððð û
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                                                                                Í¬¿¬»³»²¬ Ð»®·±¼
                                                                             Ú®±³ ß°®·´     ðïô îðîð
                                                                             Ì±   ß°®·´     íðô îðîð
                                                                             Ð¿¹»     ï ±º     î

                                                                             ÐÎ×ÊßÌÛ ÝÔ×ÛÒÌ ÙÎÑËÐ ïêï
                                                                             ëêë Ú×ÚÌØ ßÊÛÒËÛ
                                                                             ÒÛÉ ÇÑÎÕô ÒÇ ïððïé



             ×ÝÐÉ ÒÛÊßÜß ÌÎËÍÌ                       èóïêï
             ÓßÌÌØÛÉ ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
             ÛÈÝÛÍÍ ÝßÍØ ÎÛÍÛÎÊÛ ßÝÝÑËÒÌ
             íçðî É ØÛÒÜÛÎÍÑÒ ÞÔÊÜô ÍË×ÌÛ îðèóííê
             ÌßÓÐß ÚÔ ííêîç                                            Í»» Þ¿½µ º±® ×³°±®¬¿²¬ ×²º±®³¿¬·±²


                                                                    Ð®·³¿®§ ß½½±«²¬æ         ðïîð           ð

              ßÊÑ×Ü ÞËÍ×ÒÛÍÍ ÛóÓß×Ô Ú×ÒßÒÝ×ßÔ ÚÎßËÜÿ ÐÔÛßÍÛ Ê×Í×Ì ÌØÛ þÐÎ×ÊßÝÇ ú ÍÛÝËÎ×ÌÇþ
              ÍÛÝÌ×ÑÒ ÔÑÝßÌÛÜ ËÒÜÛÎ ÌØÛ þßÞÑËÌ ËÍþ ØÛßÜ×ÒÙ ßÌ ÉÉÉòÍ×ÙÒßÌËÎÛÒÇòÝÑÓò ÍÛÔÛÝÌ
              þÞËÍ×ÒÛÍÍ ÛóÓß×Ô ÝÑÓÐÎÑÓ×ÍÛþ ÌÑ ÎÛßÜ ÌØÛ ÎÛÝÛÒÌ ÒÛÉÍ ÚÎÑÓ ÌØÛ ÚÛÜÛÎßÔ
              ÞËÎÛßË ÑÚ ×ÒÊÛÍÌ×ÙßÌ×ÑÒ ÎÛÙßÎÜ×ÒÙ ÚÎßËÜ ÌßÎÙÛÌ×ÒÙ ÞËÍ×ÒÛÍÍÛÍô ×ÒÝÔËÜ×ÒÙ
              ÙË×ÜßÒÝÛ ÑÒ ÉØßÌ ÇÑË ÝßÒ ÜÑ ÌÑ ÎÛÜËÝÛ ÇÑËÎ Î×ÍÕ ÑÚ ÞÛÝÑÓ×ÒÙ ß Ê×ÝÌ×Óò
              Í×ÙÒßÌËÎÛ ÞßÒÕ ÞÛÔ×ÛÊÛÍ ÌØßÌ ÌØ×Í ×Í ×ÓÐÑÎÌßÒÌ ÒÛÉÍ ÌÑ ÍØßÎÛ É×ÌØ ÑËÎ
              ÝÔ×ÛÒÌÍò ÉÛ ßÎÛ ÓßÕ×ÒÙ ×Ì ßÊß×ÔßÞÔÛ ÌÑ ÇÑË ÚÑÎ ÇÑËÎ ×ÒÚÑÎÓßÌ×ÑÒ ßÒÜ ßÒÇ
              ßÝÌ×ÑÒ ÌØßÌ ÇÑË ÓßÇ ÝÑÒÍ×ÜÛÎ ßÐÐÎÑÐÎ×ßÌÛò

Í·¹²¿¬«®» Î»´¿¬·±²-¸·° Í«³³¿®§                                    Ñ°»²·²¹ Þ¿´ò                  Ý´±-·²¹ Þ¿´ò

ÞßÒÕ ÜÛÐÑÍ×Ì ßÝÝÑËÒÌÍ
      ðïîð      ÓÑÒÑÙÎßÓ ×ÒÍËÎÛÜ ÓÓß                                îêíôçðçòíè                      îêíôçðçòíè

              ÎÛÔßÌ×ÑÒÍØ×Ð             ÌÑÌßÔ                                                        îêíôçðçòíè
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                                                                          Í¬¿¬»³»²¬ Ð»®·±¼
                                                                       Ú®±³ ß°®·´     ðïô îðîð
                                                                       Ì±   ß°®·´     íðô îðîð
                                                                       Ð¿¹»     î ±º     î

                                                                       ÐÎ×ÊßÌÛ ÝÔ×ÛÒÌ ÙÎÑËÐ ïêï
                                                                       ëêë Ú×ÚÌØ ßÊÛÒËÛ
                                                                       ÒÛÉ ÇÑÎÕô ÒÇ ïððïé



             ×ÝÐÉ ÒÛÊßÜß ÌÎËÍÌ                       èóïêï
             ÓßÌÌØÛÉ ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
             ÛÈÝÛÍÍ ÝßÍØ ÎÛÍÛÎÊÛ ßÝÝÑËÒÌ
             íçðî É ØÛÒÜÛÎÍÑÒ ÞÔÊÜô ÍË×ÌÛ îðèóííê
             ÌßÓÐß ÚÔ ííêîç                                      Í»» Þ¿½µ º±® ×³°±®¬¿²¬ ×²º±®³¿¬·±²


                                                              Ð®·³¿®§ ß½½±«²¬æ       ðïîð           ð


ÓÑÒÑÙÎßÓ ×ÒÍËÎÛÜ ÓÓß                 ðïîð


Í«³³¿®§

 Ð®»ª·±«- Þ¿´¿²½» ¿- ±º ß°®·´     ðïô îðîð                                                  îêíôçðçòíè

 Ì¸»®» ©¿- ²± ¼»°±-·¬ ¿½¬·ª·¬§ ¼«®·²¹ ¬¸·- -¬¿¬»³»²¬ °»®·±¼

 Û²¼·²¹ Þ¿´¿²½» ¿- ±º   ß°®·´     íðô îðîð                                                  îêíôçðçòíè
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                                                                                Í¬¿¬»³»²¬ Ð»®·±¼
                                                                             Ú®±³ Ó¿§       ðïô îðîð
                                                                             Ì±   Ó¿§       íïô îðîð
                                                                             Ð¿¹»     ï ±º     î

                                                                             ÐÎ×ÊßÌÛ ÝÔ×ÛÒÌ ÙÎÑËÐ ïêï
                                                                             ëêë Ú×ÚÌØ ßÊÛÒËÛ
                                                                             ÒÛÉ ÇÑÎÕô ÒÇ ïððïé



             ×ÝÐÉ ÒÛÊßÜß ÌÎËÍÌ                       èóïêï
             ÓßÌÌØÛÉ ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
             ÛÈÝÛÍÍ ÝßÍØ ÎÛÍÛÎÊÛ ßÝÝÑËÒÌ
             íçðî É ØÛÒÜÛÎÍÑÒ ÞÔÊÜô ÍË×ÌÛ îðèóííê
             ÌßÓÐß ÚÔ ííêîç                                            Í»» Þ¿½µ º±® ×³°±®¬¿²¬ ×²º±®³¿¬·±²


                                                                    Ð®·³¿®§ ß½½±«²¬æ         ðïîð           ð

              ßÊÑ×Ü ÞËÍ×ÒÛÍÍ ÛóÓß×Ô Ú×ÒßÒÝ×ßÔ ÚÎßËÜÿ ÐÔÛßÍÛ Ê×Í×Ì ÌØÛ þÐÎ×ÊßÝÇ ú ÍÛÝËÎ×ÌÇþ
              ÍÛÝÌ×ÑÒ ÔÑÝßÌÛÜ ËÒÜÛÎ ÌØÛ þßÞÑËÌ ËÍþ ØÛßÜ×ÒÙ ßÌ ÉÉÉòÍ×ÙÒßÌËÎÛÒÇòÝÑÓò ÍÛÔÛÝÌ
              þÞËÍ×ÒÛÍÍ ÛóÓß×Ô ÝÑÓÐÎÑÓ×ÍÛþ ÌÑ ÎÛßÜ ÌØÛ ÎÛÝÛÒÌ ÒÛÉÍ ÚÎÑÓ ÌØÛ ÚÛÜÛÎßÔ
              ÞËÎÛßË ÑÚ ×ÒÊÛÍÌ×ÙßÌ×ÑÒ ÎÛÙßÎÜ×ÒÙ ÚÎßËÜ ÌßÎÙÛÌ×ÒÙ ÞËÍ×ÒÛÍÍÛÍô ×ÒÝÔËÜ×ÒÙ
              ÙË×ÜßÒÝÛ ÑÒ ÉØßÌ ÇÑË ÝßÒ ÜÑ ÌÑ ÎÛÜËÝÛ ÇÑËÎ Î×ÍÕ ÑÚ ÞÛÝÑÓ×ÒÙ ß Ê×ÝÌ×Óò
              Í×ÙÒßÌËÎÛ ÞßÒÕ ÞÛÔ×ÛÊÛÍ ÌØßÌ ÌØ×Í ×Í ×ÓÐÑÎÌßÒÌ ÒÛÉÍ ÌÑ ÍØßÎÛ É×ÌØ ÑËÎ
              ÝÔ×ÛÒÌÍò ÉÛ ßÎÛ ÓßÕ×ÒÙ ×Ì ßÊß×ÔßÞÔÛ ÌÑ ÇÑË ÚÑÎ ÇÑËÎ ×ÒÚÑÎÓßÌ×ÑÒ ßÒÜ ßÒÇ
              ßÝÌ×ÑÒ ÌØßÌ ÇÑË ÓßÇ ÝÑÒÍ×ÜÛÎ ßÐÐÎÑÐÎ×ßÌÛò

Í·¹²¿¬«®» Î»´¿¬·±²-¸·° Í«³³¿®§                                    Ñ°»²·²¹ Þ¿´ò                  Ý´±-·²¹ Þ¿´ò

ÞßÒÕ ÜÛÐÑÍ×Ì ßÝÝÑËÒÌÍ
      ðïîð      ÓÑÒÑÙÎßÓ ×ÒÍËÎÛÜ ÓÓß                                îêíôçðçòíè                      îêíôçðçòíè

              ÎÛÔßÌ×ÑÒÍØ×Ð             ÌÑÌßÔ                                                        îêíôçðçòíè
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                                                                          Í¬¿¬»³»²¬ Ð»®·±¼
                                                                       Ú®±³ Ó¿§       ðïô îðîð
                                                                       Ì±   Ó¿§       íïô îðîð
                                                                       Ð¿¹»     î ±º     î

                                                                       ÐÎ×ÊßÌÛ ÝÔ×ÛÒÌ ÙÎÑËÐ ïêï
                                                                       ëêë Ú×ÚÌØ ßÊÛÒËÛ
                                                                       ÒÛÉ ÇÑÎÕô ÒÇ ïððïé



             ×ÝÐÉ ÒÛÊßÜß ÌÎËÍÌ                       èóïêï
             ÓßÌÌØÛÉ ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
             ÛÈÝÛÍÍ ÝßÍØ ÎÛÍÛÎÊÛ ßÝÝÑËÒÌ
             íçðî É ØÛÒÜÛÎÍÑÒ ÞÔÊÜô ÍË×ÌÛ îðèóííê
             ÌßÓÐß ÚÔ ííêîç                                      Í»» Þ¿½µ º±® ×³°±®¬¿²¬ ×²º±®³¿¬·±²


                                                              Ð®·³¿®§ ß½½±«²¬æ       ðïîð           ð


ÓÑÒÑÙÎßÓ ×ÒÍËÎÛÜ ÓÓß                 ðïîð


Í«³³¿®§

 Ð®»ª·±«- Þ¿´¿²½» ¿- ±º Ó¿§       ðïô îðîð                                                  îêíôçðçòíè

 Ì¸»®» ©¿- ²± ¼»°±-·¬ ¿½¬·ª·¬§ ¼«®·²¹ ¬¸·- -¬¿¬»³»²¬ °»®·±¼

 Û²¼·²¹ Þ¿´¿²½» ¿- ±º   Ó¿§       íïô îðîð                                                  îêíôçðçòíè
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                                                                                Í¬¿¬»³»²¬ Ð»®·±¼
                                                                             Ú®±³ Ö«²»      ðïô îðîð
                                                                             Ì±   Ö«²»      íðô îðîð
                                                                             Ð¿¹»      ï ±º    î

                                                                             ÐÎ×ÊßÌÛ ÝÔ×ÛÒÌ ÙÎÑËÐ ïêï
                                                                             ëêë Ú×ÚÌØ ßÊÛÒËÛ
                                                                             ÒÛÉ ÇÑÎÕô ÒÇ ïððïé



             ×ÝÐÉ ÒÛÊßÜß ÌÎËÍÌ                       èóïêï
             ÓßÌÌØÛÉ ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
             ÛÈÝÛÍÍ ÝßÍØ ÎÛÍÛÎÊÛ ßÝÝÑËÒÌ
             íçðî É ØÛÒÜÛÎÍÑÒ ÞÔÊÜô ÍË×ÌÛ îðèóííê
             ÌßÓÐß ÚÔ ííêîç                                            Í»» Þ¿½µ º±® ×³°±®¬¿²¬ ×²º±®³¿¬·±²


                                                                    Ð®·³¿®§ ß½½±«²¬æ         ðïîð           ð

              ÛÚÚÛÝÌ×ÊÛ ÖËÔÇ ïô îðîðô Í×ÙÒßÌËÎÛ ÞßÒÕùÍ ÚËÒÜÍ ßÊß×ÔßÞ×Ô×ÌÇ Ü×ÍÝÔÑÍËÎÛ É×ÔÔ
              ÞÛ ÎÛÊ×ÍÛÜ ßÍ ÚÑÔÔÑÉÍæ
              ÌØÛ ßÓÑËÒÌ ßÊß×ÔßÞÔÛ ÚÑÎ É×ÌØÜÎßÉßÔ ÚÎÑÓ ÝØÛÝÕ ÜÛÐÑÍ×ÌÍ ÒÑÌ ÍËÞÖÛÝÌ ÌÑ ÒÛÈÌ
              ÜßÇ ßÊß×ÔßÞ×Ô×ÌÇ É×ÔÔ ×ÒÝÎÛßÍÛ ÚÎÑÓ îðð ÜÑÔÔßÎÍ ÌÑ îîë ÜÑÔÔßÎÍ ÑÒ ÌØÛ
              Ú×ÎÍÌ ÞËÍ×ÒÛÍÍ ÜßÇ ßÚÌÛÎ ÌØÛ ÜßÇ ÑÚ ÜÛÐÑÍ×Ì ßÒÜ ÌØÛ ßÓÑËÒÌ ßÊß×ÔßÞÔÛ ÚÑÎ
              ÝßÍØ É×ÌØÜÎßÉßÔ ÑÒ ÌØÛ ÍÛÝÑÒÜ ÞËÍ×ÒÛÍÍ ÜßÇ É×ÔÔ ×ÒÝÎÛßÍÛ ÚÎÑÓ ìðð ÜÑÔÔßÎÍ ÌÑ
              ìëð ÜÑÔÔßÎÍò

              ÑÒ ÑÎ ÞÛÚÑÎÛ ÖËÔÇ ïô îðîðô ÌØÛ ÎÛÊ×ÍÛÜ Ü×ÍÝÔÑÍËÎÛ É×ÔÔ ÞÛ ßÊß×ÔßÞÔÛ ßÍ ß ÐÜÚ
              Ú×ÔÛ ÑÒ ÌØÛ þßÙÎÛÛÓÛÒÌÍ ßÒÜ Ü×ÍÝÔÑÍËÎÛÍþ ÐßÙÛ ËÒÜÛÎ ùßÞÑËÌ ËÍù ßÍ ÌØÛ
              þßÜÜÛÒÜËÓ ÌÑ ÌØÛ ÞËÍ×ÒÛÍÍ ßÝÝÑËÒÌ ßÙÎÛÛÓÛÒÌÍ ßÒÜ Ü×ÍÝÔÑÍËÎÛÍ ÛÚÚÛÝÌ×ÊÛ
              ÖËÔÇ ïô îðîðþ ßÌ ÉÉÉòÍ×ÙÒßÌËÎÛÒÇòÝÑÓ ÑÎ ÞÇ ÝÑÒÌßÝÌ×ÒÙ ÇÑËÎ ÐÎ×ÊßÌÛ ÝÔ×ÛÒÌ
              ÙÎÑËÐò

Í·¹²¿¬«®» Î»´¿¬·±²-¸·° Í«³³¿®§                                    Ñ°»²·²¹ Þ¿´ò                  Ý´±-·²¹ Þ¿´ò

ÞßÒÕ ÜÛÐÑÍ×Ì ßÝÝÑËÒÌÍ
      ðïîð      ÓÑÒÑÙÎßÓ ×ÒÍËÎÛÜ ÓÓß                                îêíôçðçòíè                      îêíôçðçòíè

              ÎÛÔßÌ×ÑÒÍØ×Ð             ÌÑÌßÔ                                                        îêíôçðçòíè
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                                                                          Í¬¿¬»³»²¬ Ð»®·±¼
                                                                       Ú®±³ Ö«²»      ðïô îðîð
                                                                       Ì±   Ö«²»      íðô îðîð
                                                                       Ð¿¹»      î ±º    î

                                                                       ÐÎ×ÊßÌÛ ÝÔ×ÛÒÌ ÙÎÑËÐ ïêï
                                                                       ëêë Ú×ÚÌØ ßÊÛÒËÛ
                                                                       ÒÛÉ ÇÑÎÕô ÒÇ ïððïé



             ×ÝÐÉ ÒÛÊßÜß ÌÎËÍÌ                       èóïêï
             ÓßÌÌØÛÉ ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
             ÛÈÝÛÍÍ ÝßÍØ ÎÛÍÛÎÊÛ ßÝÝÑËÒÌ
             íçðî É ØÛÒÜÛÎÍÑÒ ÞÔÊÜô ÍË×ÌÛ îðèóííê
             ÌßÓÐß ÚÔ ííêîç                                      Í»» Þ¿½µ º±® ×³°±®¬¿²¬ ×²º±®³¿¬·±²


                                                              Ð®·³¿®§ ß½½±«²¬æ       ðïîð           ð


ÓÑÒÑÙÎßÓ ×ÒÍËÎÛÜ ÓÓß                 ðïîð


Í«³³¿®§

 Ð®»ª·±«- Þ¿´¿²½» ¿- ±º Ö«²»      ðïô îðîð                                                  îêíôçðçòíè

 Ì¸»®» ©¿- ²± ¼»°±-·¬ ¿½¬·ª·¬§ ¼«®·²¹ ¬¸·- -¬¿¬»³»²¬ °»®·±¼

 Û²¼·²¹ Þ¿´¿²½» ¿- ±º   Ö«²»      íðô îðîð                                                  îêíôçðçòíè
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                                                     Û     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                  Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                               Statement Period:    Apr 01 2020-Apr 30 2020
   OPERATING ACCOUNT                                       Cust Ref #:                   3018-701-E-***
   3609 HENDERSON BLVD STE 208                             Primary Account #:                      3018
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                  Account #           3018
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÑÐÛÎßÌ×ÒÙ ßÝÝÑËÒÌ


ACCOUNT SUMMARY
Beginning Balance                     271,800.86                 Average Collected Balance          168,548.41
Other Credits                              55.26                 Interest Earned This Period             55.26
                                                                 Interest Paid Year-to-Date           1,176.69
Electronic Payments                   171,804.09                 Annual Percentage Yield Earned         0.40%
Ending Balance                        100,052.03                 Days in Period                             30




DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                           AMOUNT
04/30            INTEREST PAID                                                                             55.26
                                                                                Subtotal:                  55.26
Electronic Payments
POSTING DATE     DESCRIPTION                                                                           AMOUNT
04/01            eTransfer Debit, Online Xfer                                                        85,000.00
                    Transfer to CK         4123
04/24            eTransfer Debit, Online Xfer                                                        76,804.09
                    Transfer to CK         4123
04/30            eTransfer Debit, Online Xfer                                                        10,000.00
                    Transfer to CK         4123

                                                                                Subtotal:           171,804.09


DAILY BALANCE SUMMARY
DATE                                    BALANCE                  DATE                                 BALANCE
03/31                                 271,800.86                 04/24                             109,996.77
04/01                                 186,800.86                 04/30                             100,052.03




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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                       100,052.03
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                            Û   STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                       Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                                    Statement Period:    May 01 2020-May 31 2020
   OPERATING ACCOUNT                                            Cust Ref #:                    3018-701-E-***
   3609 HENDERSON BLVD STE 208                                  Primary Account #:                      3018
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                       Account #           3018
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÑÐÛÎßÌ×ÒÙ ßÝÝÑËÒÌ


ACCOUNT SUMMARY
Beginning Balance                       100,052.03                    Average Collected Balance          248,621.86
Electronic Deposits                     331,779.14                    Interest Earned This Period             84.23
Other Credits                                84.23                    Interest Paid Year-to-Date           1,260.92
                                                                      Annual Percentage Yield Earned         0.40%
Electronic Payments                      53,803.80                    Days in Period                             31
Ending Balance                          378,111.60




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                                AMOUNT
05/15            eTransfer Credit, Online Xfer                                                           331,779.14
                      Transfer from MMKT             9869

                                                                                      Subtotal:          331,779.14
Other Credits
POSTING DATE     DESCRIPTION                                                                                AMOUNT
05/29            INTEREST PAID                                                                                  84.23
                                                                                      Subtotal:                 84.23
Electronic Payments
POSTING DATE     DESCRIPTION                                                                                AMOUNT
05/11            eTransfer Debit, Online Xfer                                                             25,000.00
                      Transfer to CK         4123
05/11            eTransfer Debit, Online Xfer                                                              5,000.00
                      Transfer to CK         4123
05/15            eTransfer Debit, Online Xfer                                                             23,803.80
                      Transfer to CK         4123

                                                                                      Subtotal:           53,803.80


DAILY BALANCE SUMMARY
DATE                                      BALANCE                     DATE                                 BALANCE
04/30                                   100,052.03                    05/15                              378,027.37
05/11                                    70,052.03                    05/29                              378,111.60




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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                       378,111.60
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB                 Doc 636 Filed 07/28/20 Entered 07/28/20 14:55:35                         Desc
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                                                             Û        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Jun 01 2020-Jun 30 2020
    OPERATING ACCOUNT                                                 Cust Ref #:                      3018-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         3018
    TAMPA FL 33629



Upcoming REG CC Changes Effective July 1, 2020
Reminder: We have updated our policy to comply with the upcoming Regulation CC Changes. TD Banks Funds Availability
policy will continue to make $100 available immediately at the time of deposit & the remaining funds will be available by the end
of the next business day. Sometimes we may need to place a hold to verify funds are available. If this occurs, we will make an
additional $125 available by the end of the first business day after we receive your deposit if a hold is applied. For additional
information, please refer to the Funds Availability Policy in the Personal Deposit Account Agreement & Business Deposit Account
Agreement, available at td.com
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                                 Account #           3018
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÑÐÛÎßÌ×ÒÙ ßÝÝÑËÒÌ


ACCOUNT SUMMARY
Beginning Balance                       378,111.60                           Average Collected Balance              358,127.03
Other Credits                               117.42                           Interest Earned This Period                117.42
                                                                             Interest Paid Year-to-Date               1,378.34
Electronic Payments                      31,560.75                           Annual Percentage Yield Earned             0.40%
Ending Balance                          346,668.27                           Days in Period                                 30




DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                        AMOUNT
06/30               INTEREST PAID                                                                                        117.42
                                                                                              Subtotal:                  117.42
Electronic Payments
POSTING DATE        DESCRIPTION                                                                                        AMOUNT
06/12               eTransfer Debit, Online Xfer                                                                     31,560.75
                      Transfer to CK         4123

                                                                                              Subtotal:              31,560.75


DAILY BALANCE SUMMARY
DATE                                      BALANCE                            DATE                                     BALANCE
05/31                                   378,111.60                           06/30                                 346,668.27
06/12                                   346,550.85




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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                       346,668.27
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
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                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
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                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
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    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
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                                                                                               included in your total finance charge.
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                                               Û     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Apr 01 2020-Apr 30 2020
   CLASS 4 RESERVE                                   Cust Ref #:                   4058-701-E-***
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      4058
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                            Account #           4058
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ ì ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                 2,906.45                 Average Collected Balance            2,906.48
Other Credits                         0.95                 Interest Earned This Period              0.95
                                                           Interest Paid Year-to-Date             766.98
Ending Balance                    2,907.40                 Annual Percentage Yield Earned         0.40%
                                                           Days in Period                             30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
04/30            INTEREST PAID                                                                       0.95
                                                                          Subtotal:                  0.95


DAILY BALANCE SUMMARY
DATE                             BALANCE                   DATE                                 BALANCE
03/31                            2,906.45                  04/30                                2,907.40




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                           2,907.40
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                               Û     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    May 01 2020-May 31 2020
   CLASS 4 RESERVE                                   Cust Ref #:                    4058-701-E-***
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      4058
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                            Account #           4058
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ ì ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                 2,907.40                 Average Collected Balance            2,907.43
Other Credits                         0.98                 Interest Earned This Period              0.98
                                                           Interest Paid Year-to-Date             767.96
Ending Balance                    2,908.38                 Annual Percentage Yield Earned         0.40%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
05/29            INTEREST PAID                                                                       0.98
                                                                           Subtotal:                 0.98


DAILY BALANCE SUMMARY
DATE                             BALANCE                   DATE                                 BALANCE
04/30                            2,907.40                  05/29                                2,908.38




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xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                           2,908.38
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
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    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
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    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                             Û        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Jun 01 2020-Jun 30 2020
    CLASS 4 RESERVE                                                   Cust Ref #:                      4058-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         4058
    TAMPA FL 33629



Upcoming REG CC Changes Effective July 1, 2020
Reminder: We have updated our policy to comply with the upcoming Regulation CC Changes. TD Banks Funds Availability
policy will continue to make $100 available immediately at the time of deposit & the remaining funds will be available by the end
of the next business day. Sometimes we may need to place a hold to verify funds are available. If this occurs, we will make an
additional $125 available by the end of the first business day after we receive your deposit if a hold is applied. For additional
information, please refer to the Funds Availability Policy in the Personal Deposit Account Agreement & Business Deposit Account
Agreement, available at td.com
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                                 Account #           4058
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ ì ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                        2,908.38                            Average Collected Balance                2,908.41
Other Credits                                0.95                            Interest Earned This Period                  0.95
                                                                             Interest Paid Year-to-Date                 768.91
Ending Balance                           2,909.33                            Annual Percentage Yield Earned             0.40%
                                                                             Days in Period                                 30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                        AMOUNT
06/30               INTEREST PAID                                                                                          0.95
                                                                                              Subtotal:                    0.95


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
05/31                                    2,908.38                            06/30                                    2,909.33




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                           2,909.33
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
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                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                               Û     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Apr 01 2020-Apr 30 2020
   CLASS 3 RESERVE                                   Cust Ref #:                   4074-701-E-***
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      4074
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                            Account #           4074
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ í ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                 2,818.02                 Average Collected Balance            2,818.03
Other Credits                         0.46                 Interest Earned This Period              0.46
                                                           Interest Paid Year-to-Date           2,818.48
Ending Balance                    2,818.48                 Annual Percentage Yield Earned         0.20%
                                                           Days in Period                             30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
04/30            INTEREST PAID                                                                       0.46
                                                                          Subtotal:                  0.46


DAILY BALANCE SUMMARY
DATE                             BALANCE                   DATE                                 BALANCE
03/31                            2,818.02                  04/30                                2,818.48




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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                           2,818.48
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
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    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
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    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
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                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                               Û     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    May 01 2020-May 31 2020
   CLASS 3 RESERVE                                   Cust Ref #:                    4074-701-E-***
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      4074
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                            Account #           4074
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ í ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                 2,818.48                 Average Collected Balance            2,818.49
Other Credits                         0.48                 Interest Earned This Period              0.48
                                                           Interest Paid Year-to-Date           2,818.96
Ending Balance                    2,818.96                 Annual Percentage Yield Earned         0.20%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
05/29            INTEREST PAID                                                                       0.48
                                                                           Subtotal:                 0.48


DAILY BALANCE SUMMARY
DATE                             BALANCE                   DATE                                 BALANCE
04/30                            2,818.48                  05/29                                2,818.96




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                           2,818.96
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
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    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
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                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
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    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                             Û        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Jun 01 2020-Jun 30 2020
    CLASS 3 RESERVE                                                   Cust Ref #:                      4074-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         4074
    TAMPA FL 33629



Upcoming REG CC Changes Effective July 1, 2020
Reminder: We have updated our policy to comply with the upcoming Regulation CC Changes. TD Banks Funds Availability
policy will continue to make $100 available immediately at the time of deposit & the remaining funds will be available by the end
of the next business day. Sometimes we may need to place a hold to verify funds are available. If this occurs, we will make an
additional $125 available by the end of the first business day after we receive your deposit if a hold is applied. For additional
information, please refer to the Funds Availability Policy in the Personal Deposit Account Agreement & Business Deposit Account
Agreement, available at td.com
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                                 Account #           4074
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ í ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                        2,818.96                            Average Collected Balance                2,818.97
Other Credits                                0.46                            Interest Earned This Period                  0.46
                                                                             Interest Paid Year-to-Date               2,819.42
Ending Balance                           2,819.42                            Annual Percentage Yield Earned             0.20%
                                                                             Days in Period                                 30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                        AMOUNT
06/30               INTEREST PAID                                                                                          0.46
                                                                                              Subtotal:                    0.46


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
05/31                                    2,818.96                            06/30                                    2,819.42




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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                           2,819.42
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                     Û    STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                 Page:                                  1 of 3
   MATTHEW A PLISKIN TRUSTEE                              Statement Period:    Apr 01 2020-Apr 30 2020
   GENERAL AND DISBURSEMENTS                              Cust Ref #:                   4123-719-E-***
   3609 HENDERSON BLVD STE 208                            Primary Account #:                      4123
   TAMPA FL 33629




TD Business Premier Checking
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                 Account #           4123
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ


ACCOUNT SUMMARY
Beginning Balance                       189.35                  Average Collected Balance           32,379.56
Electronic Deposits                 171,804.09                  Interest Earned This Period              0.00
                                                                Interest Paid Year-to-Date               0.00
Electronic Payments                   10,000.00                 Annual Percentage Yield Earned         0.00%
Other Withdrawals                     70,064.07                 Days in Period                             30
Service Charges                           30.00
Ending Balance                        91,899.37




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                          AMOUNT
04/01            eTransfer Credit, Online Xfer                                                      85,000.00
                      Transfer from MMKT      3018
04/24            eTransfer Credit, Online Xfer                                                      76,804.09
                      Transfer from MMKT      3018
04/30            eTransfer Credit, Online Xfer                                                      10,000.00
                      Transfer from MMKT      3018

                                                                               Subtotal:           171,804.09
Electronic Payments
POSTING DATE     DESCRIPTION                                                                          AMOUNT
04/28            TDBANK BILL PAY CHECK, SCOTT JARUS                                                 10,000.00
                      CHECK# 995101

                                                                               Subtotal:            10,000.00
Other Withdrawals
POSTING DATE     DESCRIPTION                                                                          AMOUNT
04/01            WIRE     TRANSFER OUTGOING, Matthew Pliskin                                        49,974.07
04/01            WIRE     TRANSFER OUTGOING, Patrick O'brien                                        10,000.00
04/01            WIRE     TRANSFER OUTGOING, Trust Services                                         10,000.00
04/01            WIRE     TRANSFER FEE                                                                  30.00
04/01            WIRE     TRANSFER FEE                                                                  30.00
04/01            WIRE     TRANSFER FEE                                                                  30.00
                                                                               Subtotal:            70,064.07




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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                         91,899.37
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
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    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
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                                                      STATEMENT OF ACCOUNT


   ICPW LIQUIDATION TRUST
   MATTHEW A PLISKIN TRUSTEE                          Page:                                  3 of 3
                                                      Statement Period:    Apr 01 2020-Apr 30 2020
                                                      Cust Ref #:                   4123-719-E-***
                                                      Primary Account #:                      4123




DAILY ACCOUNT ACTIVITY
Service Charges
POSTING DATE      DESCRIPTION                                                                     AMOUNT
04/30             MAINTENANCE FEE                                                                     30.00
                                                                           Subtotal:                  30.00


DAILY BALANCE SUMMARY
DATE                              BALANCE                   DATE                                 BALANCE
03/31                               189.35                  04/28                               81,929.37
04/01                            15,125.28                  04/30                               91,899.37
04/24                            91,929.37




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   ICPW LIQUIDATION TRUST                                                    Page:                                           1 of 4
   MATTHEW A PLISKIN TRUSTEE                                                 Statement Period:             May 01 2020-May 31 2020
   GENERAL AND DISBURSEMENTS                                                 Cust Ref #:                             4123-719-E-***
   3609 HENDERSON BLVD STE 208                                               Primary Account #:                               4123
   TAMPA FL 33629




TD Business Premier Checking
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                                                 Account #                   4123
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ


ACCOUNT SUMMARY
Beginning Balance                     91,899.37                                       Average Collected Balance                           24,826.43
Electronic Deposits                   53,803.80                                       Interest Earned This Period                              0.00
                                                                                      Interest Paid Year-to-Date                               0.00
Checks Paid                          38,326.02                                        Annual Percentage Yield Earned                         0.00%
Electronic Payments                 102,034.99                                        Days in Period                                             31
Service Charges                          30.00
Ending Balance                        5,312.16




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
05/11            eTransfer Credit, Online Xfer                                                                                            25,000.00
                      Transfer from MMKT            3018
05/11            eTransfer Credit, Online Xfer                                                                                              5,000.00
                      Transfer from MMKT            3018
05/15            eTransfer Credit, Online Xfer                                                                                            23,803.80
                      Transfer from MMKT            3018

                                                                                                             Subtotal:                    53,803.80
Checks Paid      No. Checks: 3     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE            SERIAL NO.                  AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
05/08            1157                       325.00                                  05/01                     995105*                       8,572.90
05/08            1158                   29,428.12
                                                                                                             Subtotal:                    38,326.02
Electronic Payments
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
05/01            TDBANK BILL PAY CHECK, FTI CONSULTING                                                                                      5,924.80
                      CHECK# 995103
05/06            TDBANK BILL PAY CHECK, HEMMING MORSE LLP                                                                                 55,743.75
                      CHECK# 995104
05/06            TDBANK BILL PAY CHECK, DENTONS LLP                                                                                         6,562.64
                      CHECK# 995102
05/12            TDBANK BILL PAY CHECK, SCOTT JARUS                                                                                       10,000.00
                      CHECK# 995106




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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 4

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                           5,312.16
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                      STATEMENT OF ACCOUNT


   ICPW LIQUIDATION TRUST
   MATTHEW A PLISKIN TRUSTEE                          Page:                                  3 of 4
                                                      Statement Period:    May 01 2020-May 31 2020
                                                      Cust Ref #:                    4123-719-E-***
                                                      Primary Account #:                      4123




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE      DESCRIPTION                                                                     AMOUNT
05/26             TDBANK BILL PAY CHECK,                                                        10,900.00
                   BPE&H AN ACCOUNTANCY CORPORATION
                   CHECK# 995107
05/26             TDBANK BILL PAY CHECK,                                                              536.80
                   SOLOMON & CRAMER LLP
                   CHECK# 995109
05/27             TDBANK BILL PAY CHECK, HEMMING MORSE LLP                                      12,367.00
                   CHECK# 995108

                                                                            Subtotal:          102,034.99
Service Charges
POSTING DATE      DESCRIPTION                                                                     AMOUNT
05/29             MAINTENANCE FEE                                                                      30.00
                                                                            Subtotal:                  30.00


DAILY BALANCE SUMMARY
DATE                               BALANCE                   DATE                                BALANCE
04/30                              91,899.37                 05/12                               5,342.16
05/01                              77,401.67                 05/15                              29,145.96
05/06                              15,095.28                 05/26                              17,709.16
05/08                             -14,657.84                 05/27                               5,342.16
05/11                              15,342.16                 05/29                               5,312.16




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                                                            STATEMENT OF ACCOUNT


            ICPW LIQUIDATION TRUST
            MATTHEW A PLISKIN TRUSTEE                       Page:                                  4 of 4
                                                            Statement Period:    May 01 2020-May 31 2020
                                                            Cust Ref #:                    4123-719-E-***
                                                            Primary Account #:                      4123




#1157         05/08         $325.00                #1158         05/08           $29,428.12




#995105       05/01         $8,572.90
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    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Jun 01 2020-Jun 30 2020
    GENERAL AND DISBURSEMENTS                                         Cust Ref #:                      4123-719-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         4123
    TAMPA FL 33629



Upcoming REG CC Changes Effective July 1, 2020
Reminder: We have updated our policy to comply with the upcoming Regulation CC Changes. TD Banks Funds Availability
policy will continue to make $100 available immediately at the time of deposit & the remaining funds will be available by the end
of the next business day. Sometimes we may need to place a hold to verify funds are available. If this occurs, we will make an
additional $125 available by the end of the first business day after we receive your deposit if a hold is applied. For additional
information, please refer to the Funds Availability Policy in the Personal Deposit Account Agreement & Business Deposit Account
Agreement, available at td.com
TD Business Premier Checking
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                                 Account #           4123
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ


ACCOUNT SUMMARY
Beginning Balance                        5,312.16                            Average Collected Balance               15,832.41
Electronic Deposits                     31,560.75                            Interest Earned This Period                  0.00
                                                                             Interest Paid Year-to-Date                   0.00
Electronic Payments                     31,560.75                            Annual Percentage Yield Earned             0.00%
Service Charges                             30.00                            Days in Period                                 30
Ending Balance                           5,282.16




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE        DESCRIPTION                                                                                        AMOUNT
06/12               eTransfer Credit, Online Xfer                                                                    31,560.75
                      Transfer from MMKT           3018

                                                                                              Subtotal:              31,560.75
Electronic Payments
POSTING DATE        DESCRIPTION                                                                                        AMOUNT
06/22               TDBANK BILL PAY CHECK,                                                                           31,560.75
                      SOLOMON & CRAMER LLP
                      CHECK# 995110

                                                                                              Subtotal:              31,560.75
Service Charges
POSTING DATE        DESCRIPTION                                                                                        AMOUNT
06/30               MAINTENANCE FEE                                                                                       30.00
                                                                                              Subtotal:                   30.00


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
05/31                                   5,312.16                             06/22                                    5,312.16
06/12                                  36,872.91                             06/30                                    5,282.16



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    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                           5,282.16
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    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
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                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
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    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
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    than ten (10) business days to do this, we will credit your account for the
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    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
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    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Apr 01 2020-Apr 30 2020
   CLASS 1 RESERVE                                   Cust Ref #:                   9869-701-E-***
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      9869
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                            Account #            9869
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ ï ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance               394,311.06                 Average Collected Balance          394,315.36
Other Credits                       129.28                 Interest Earned This Period            129.28
                                                           Interest Paid Year-to-Date           1,478.80
Ending Balance                  394,440.34                 Annual Percentage Yield Earned         0.40%
                                                           Days in Period                             30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
04/30            INTEREST PAID                                                                       129.28
                                                                          Subtotal:                  129.28


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
03/31                           394,311.06                 04/30                             394,440.34




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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                       394,440.34
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
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    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
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                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
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    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
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                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
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    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
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    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                   Û   STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                              Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                           Statement Period:    May 01 2020-May 31 2020
   CLASS 1 RESERVE                                     Cust Ref #:                    9869-701-E-***
   3609 HENDERSON BLVD STE 208                         Primary Account #:                      9869
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                              Account #           9869
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ ï ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                 394,440.34                 Average Collected Balance          212,499.26
Other Credits                          71.99                 Interest Earned This Period             71.99
                                                             Interest Paid Year-to-Date           1,550.79
Electronic Payments               331,779.14                 Annual Percentage Yield Earned         0.40%
Ending Balance                     62,733.19                 Days in Period                             31




DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                       AMOUNT
05/29            INTEREST PAID                                                                         71.99
                                                                             Subtotal:                 71.99
Electronic Payments
POSTING DATE     DESCRIPTION                                                                       AMOUNT
05/15            eTransfer Debit, Online Xfer                                                   331,779.14
                    Transfer to MMKT        3018

                                                                             Subtotal:          331,779.14


DAILY BALANCE SUMMARY
DATE                                   BALANCE               DATE                                 BALANCE
04/30                             394,440.34                 05/29                               62,733.19
05/15                              62,661.20




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    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                         62,733.19
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
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¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
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                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                             Û        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Jun 01 2020-Jun 30 2020
    CLASS 1 RESERVE                                                   Cust Ref #:                      9869-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         9869
    TAMPA FL 33629



Upcoming REG CC Changes Effective July 1, 2020
Reminder: We have updated our policy to comply with the upcoming Regulation CC Changes. TD Banks Funds Availability
policy will continue to make $100 available immediately at the time of deposit & the remaining funds will be available by the end
of the next business day. Sometimes we may need to place a hold to verify funds are available. If this occurs, we will make an
additional $125 available by the end of the first business day after we receive your deposit if a hold is applied. For additional
information, please refer to the Funds Availability Policy in the Personal Deposit Account Agreement & Business Deposit Account
Agreement, available at td.com
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                                 Account #           9869
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ ï ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                       62,733.19                            Average Collected Balance               62,733.87
Other Credits                               20.57                            Interest Earned This Period                 20.57
                                                                             Interest Paid Year-to-Date               1,571.36
Ending Balance                          62,753.76                            Annual Percentage Yield Earned             0.40%
                                                                             Days in Period                                 30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                        AMOUNT
06/30               INTEREST PAID                                                                                         20.57
                                                                                              Subtotal:                   20.57


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
05/31                                  62,733.19                             06/30                                  62,753.76




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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                         62,753.76
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                               Û     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Apr 01 2020-Apr 30 2020
   TAX RESERVE                                       Cust Ref #:                   9893-701-E-***
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      9893
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                            Account #           9893
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÌßÈ ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                92,879.28                 Average Collected Balance           92,880.29
Other Credits                        30.45                 Interest Earned This Period             30.45
                                                           Interest Paid Year-to-Date             348.33
Ending Balance                   92,909.73                 Annual Percentage Yield Earned         0.40%
                                                           Days in Period                             30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
04/30            INTEREST PAID                                                                       30.45
                                                                          Subtotal:                  30.45


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
03/31                            92,879.28                 04/30                               92,909.73




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                         92,909.73
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
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    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                               Û     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    May 01 2020-May 31 2020
   TAX RESERVE                                       Cust Ref #:                    9893-701-E-***
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      9893
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                            Account # 434-6409893
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÌßÈ ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                92,909.73                 Average Collected Balance           92,910.74
Other Credits                        31.48                 Interest Earned This Period             31.48
                                                           Interest Paid Year-to-Date             379.81
Ending Balance                   92,941.21                 Annual Percentage Yield Earned         0.40%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
05/29            INTEREST PAID                                                                       31.48
                                                                           Subtotal:                 31.48


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
04/30                            92,909.73                 05/29                               92,941.21




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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                         92,941.21
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                             Û        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:       Jun 01 2020-Jun 30 2020
    TAX RESERVE                                                       Cust Ref #:                      9893-701-E-***
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                         9893
    TAMPA FL 33629



Upcoming REG CC Changes Effective July 1, 2020
Reminder: We have updated our policy to comply with the upcoming Regulation CC Changes. TD Banks Funds Availability
policy will continue to make $100 available immediately at the time of deposit & the remaining funds will be available by the end
of the next business day. Sometimes we may need to place a hold to verify funds are available. If this occurs, we will make an
additional $125 available by the end of the first business day after we receive your deposit if a hold is applied. For additional
information, please refer to the Funds Availability Policy in the Personal Deposit Account Agreement & Business Deposit Account
Agreement, available at td.com
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                                 Account #           9893
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÌßÈ ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                       92,941.21                            Average Collected Balance               92,942.22
Other Credits                               30.47                            Interest Earned This Period                 30.47
                                                                             Interest Paid Year-to-Date                 410.28
Ending Balance                          92,971.68                            Annual Percentage Yield Earned             0.40%
                                                                             Days in Period                                 30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE        DESCRIPTION                                                                                        AMOUNT
06/30               INTEREST PAID                                                                                         30.47
                                                                                              Subtotal:                   30.47


DAILY BALANCE SUMMARY
DATE                                     BALANCE                             DATE                                     BALANCE
05/31                                  92,941.21                             06/30                                  92,971.68




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 636 Filed 07/28/20 Entered 07/28/20 14:55:35                                                                 Desc
                                                          Main Document     Page 69 of 69
    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                         92,971.68
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
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¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
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¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
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¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
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                                                                                                                                     Total
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